Case 3:22-cr-00342-SCC-HRV Documen t797 Filed 02/20/25 Pagei1of1

Fiied with the Classified
Information Security Officer

CISCO P ee
pate 02419 [£025
IN THE UNITED STATES DISTRICT COUR

FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff. Case No, 3:22-cr-00342(SCC)

vy.

JULIO M. HERRERA VELUTINI

Defendant.

JULIO M. HERRERA VELUTINI’S FIRST NOTICE

PURSUANT TO SECTION 5(A) OF THE CLASSIFIED INFORMATION ACT!

—_————
